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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

 

RICARDO WALKER,
Case No.: 1:19-cv-5495
Plaintiff, NOTICE OF DISMISSAL
PURSUANT TO FRCP
-against- 41(a)(1)(A)(i)
ROMME HOSPITALITY LLC,
Defendant.

 

PLEASE TAKE NOTICE that the claims of Plaintiff, RICARDO WALKER, are hereby
dismissed without prejudice, in their entirety, as against Defendant, ROMME HOSPITALITY

LLC, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

Dated: August 20, 2019
New York, New York

 

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SO ORDERED:

 

U.S.D.J.
